                                      In The

                                Court of Appeals

                    Ninth District of Texas at Beaumont

                               __________________

                               NO. 09-24-00176-CV
                               __________________

                         EX PARTE ERICK LAWSON

__________________________________________________________________

                On Appeal from the 435th District Court
                     Montgomery County, Texas
                   Trial Cause No. 24-03-03640-CV
__________________________________________________________________

                          MEMORANDUM OPINION

      Erick Lawson filed a notice of appeal of an order denying his Application for

Writ of Habeas Corpus (the Application). In his appellate brief, Lawson argues: (1)

the 435th District Court is not the committing court and lacks jurisdiction over his

civil commitment; (2) the trial court’s exercise of jurisdiction by ruling on the

Application deprived Lawson of his constitutional right to receive due course of law;

(3) the trial court abused its discretion by amending Lawson’s civil commitment

order without proper subject matter jurisdiction; and (4) the 2007 Agreed Judgment

and Order of Civil Commitment in Trial Cause Number 07-08-08159-CV is void

because in 2016 Lawson was wrongly ordered into a tiered treatment program that

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indefinitely confined Lawson in a total confinement facility. In Appellee’s Brief, the

State contends the appellate court lacks jurisdiction over this appeal because the

Application seeks relief from or modification of the terms of Lawson’s civil

commitment. The State also disagrees with Lawson on the other arguments made by

Lawson, and the State argues the 435th District Court has subject matter jurisdiction

over Lawson’s continued civil commitment as a sexually violent predator and the

orders of the 435th are not void, and Lawson’s original judgment and order of

commitment allowed for modifications to his terms of commitment and the trial

court had statutory authority to place him into the tiered treatment program. After

considering the appellate record, the applicable law, and the arguments presented in

the briefs, we conclude that we lack appellate jurisdiction and dismiss the appeal.

We also deny Lawson’s request for mandamus relief.

                                     Background

      On October 17, 2007, Lawson was civilly committed as a sexually violent

predator in an Agreed Final Judgment and Order of Civil Commitment signed in the

9th District Court of Montgomery County, Texas. On that date, the mandatory

requirements for a civil commitment order found in Section 841.082(a) of the Health

and Safety Code included “requiring the person to reside in a Texas residential

facility under contract with the council or at another location or facility approved by

the council;” and “requiring the person’s participation in and compliance with a

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specific course of treatment[.]” See Act of May 19, 2005, 79th Leg., R.S., ch. 849, §

3, 2005 Tex. Gen. Laws 2890, 2891 (amended 2005, 2007, 2011, 2015, 2017)

(codified at Tex. Health &amp; Safety Code § 841.082). Consistent with the law then in

effect, the order of civil commitment provided, in relevant part: “Erick Lawson shall

reside in Harris County, Texas, in a Texas residential facility under contract with the

Council on Sex Offender Treatment or at another location or facility approved by

the Council[]” and “Erick Lawson shall participate in and comply with a specific

course of treatment[.]”

      In 2007, the Legislature created the 435th District Court of Montgomery

County. Act of May 28, 2007, 80th Leg., R.S., Ch. 1342, § 5, 2007 Tex. Gen Laws

4563, 4564 (amended 2015) (for current statute see Tex. Gov’t Code Ann. § 24.579).

Effective September 1, 2007, the 435th District Court was created as a court of

general jurisdiction with preference to hear civil commitment proceedings under

Chapter 841, Health and Safety Code. Id. Approximately two weeks after Lawson

was civilly committed in an order of the 9th District Court, the judge of the 9th

District Court of Montgomery County, acting in his capacity as the Local

Administrative Judge for Montgomery County, signed an Order of Transfer that

stated:

            It is hereby ORDERED that all civil commitment of sexually
      violent predator cases under the Texas Health and Safety Code Chapter
      841, filed in Montgomery County, Texas, be assigned to the 435th

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      Judicial District Court of Montgomery County, Texas. This order shall
      include all previously filed cases, as well as new cases.

      According to Lawson, since the date of transfer, the proceedings in Trial

Cause Number 07-08-08159-CV have been filed in and ruled upon by the 435th

District Court.

                      Application for Writ of Habeas Corpus

      In his pro se Application, Lawson asserted “The 435th District Court of

Montgomery County, Texas lacked jurisdiction in this case, and rendered void

biennial review orders, [and a void] order placing Lawson in the tiered treatment

program, and an Amended Order of Commitment.”

      The Order on Lawson’s Application for Writ of Habeas Corpus and Lawson’s

Motion for a Hearing stated:

             The court has this day reviewed Lawson’s application for a writ
      of habeas corpus and his motion for a hearing. The court has also
      reviewed the State’s responses and all other documents related to
      Lawson’s application and his civil commitment as a sexually violent
      predator.
             The court finds there are no controverted, previously unresolved
      facts material to the legality of Lawson’s civil commitment or his 2016
      placement into the tiered-treatment program. Therefore, Lawson’s
      request for a hearing is DENIED.
             Further, the court finds legal authority overruling all of the issues
      Lawson raises in his application. Therefore, Lawson’s application for
      writ of habeas corpus is also DENIED.




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                                      Appeal

      First, we address Lawson’s arguments that relate to the authority of the 435th

District Court to consider and rule on Lawson’s Application for Writ of Habeas

Corpus. Lawson argues the judge who signed the order “made a determination

contrary to law[]” when he determined that the 435th District Court holds

jurisdiction over Lawson’s civil commitment. He argues he was deprived of his

“Constitutional right to receive Due Course of law” because the 435th District Court

lacks subject matter jurisdiction in the habeas corpus proceeding, and the judge

assigned to consider Lawson’s habeas corpus application abused his discretion by

wrongfully assuming jurisdiction vested in the 9th District Court by virtue of the

order of civil commitment signed on October 17, 2007, in Trial Cause Number 07-

08-08159-CV.

      Lawson concedes that this Court has in a prior case rejected the same

arguments Lawson makes here. See In re Richards, No. 09-23-00408-CV, 2024 Tex.

App. LEXIS 842, at *1 (Tex. App.—Beaumont Feb. 1, 2024, orig. proceeding)

(mem. op.). He argues that in Richards we failed to recognize and follow our own

precedent in our 2013 opinion styled In re Commitment of Richards and other cases

that recognized the committing court’s continuing jurisdiction while the order of

civil commitment remains in effect. See 395 S.W.3d 905, 907 (Tex. App.—

Beaumont 2013, pet. denied). In the 2013 case, Richards attempted to appeal a

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biennial review order in which the 435th District Court declined to find probable

cause that Richards’s behavioral abnormality had changed to the extent that he was

no longer likely to engage in a predatory act of sexual violence. Id. In the opinion

we issued in 2013, we held the trial court’s 2012 biennial review order was not an

appealable order because the order at issue did not result from a trial on the merits,

the Legislature did not expressly grant a right to appeal the proceedings at issue, and

the commitment order governing a civil commitment can be challenged by further

proceedings that might occur in the trial court. Id at 909. In 2013, Richards’s case

had already been transferred from the original committing court to the 435th District

Court, and we were not asked to consider, nor did we decide whether the ongoing

civil commitment case could be transferred to the 435th District Court after the

Legislature created that court and directed it to give preference to civil commitments

under the SVP Act. See generally 395 S.W.3d 905. That said, we did decide that

issue in 2024, when we held that Richards’s civil commitment case was properly

transferred to the 435th District Court pursuant to the order of the Local

Administrative Judge under the Court Administration Act. Richards, 2024 Tex. App.

LEXIS 842, at *2. We follow the precedent we established earlier this year in

Richards. See id. We conclude the 435th District Court lawfully maintains

jurisdiction in Trial Cause Numbers 07-08-08159-CV and 24-03-03640-CV.




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      A few days after the parties filed their briefs in this appeal, we also issued

three opinions in attempted appeals of orders that were almost identical to the order

Lawson has challenged here. See Ex parte Richards, No. 09-24-00077-CV, 2024

Tex. App. LEXIS 4499 (Tex. App.—Beaumont June 27, 2024, no pet. h.) (mem.

op.) Ex parte Poest, No. 09-24-00072-CV, 2024 Tex. App. LEXIS 4500 (Tex.

App.—Beaumont June 27, 2024, no pet. h.) (mem. op.); Ex parte Williams, No. 09-

24-00068-CV, 2024 Tex. App. LEXIS 4509 (Tex. App.—Beaumont June 27, 2024,

no pet. h.) (mem. op.). In each of those cases, after reviewing the record and

applicable law, we concluded the trial court determined from the face of each

application that the application lacked merit and that in each case the challenged

order was not appealable as a final judgment. See Richards, 2024 Tex. App. LEXIS

4499, at *11; Poest, 2024 Tex. App. LEXIS 4500, at **11; Williams, 2024 Tex. App.

LEXIS 4509, at **10-11. At the appellants’ requests we then considered each brief

as a petition for a writ of mandamus, but we denied mandamus relief because we

concluded that the 2015 amendments to the SVP Act, including the tiered treatment

program, applied as a matter of law and were not unconstitutional as applied.

Richards, 2024 Tex. App. LEXIS 4499, at **17-18; Poest, 2024 Tex. App. LEXIS

4500, at **17-18; Williams, 2024 Tex. App. LEXIS 4509, at **17-18.

      The issues we resolved in Richards, Poest, and Williams, also control the

remaining jurisdictional questions presented by Lawson in his attempted appeal.

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Lawson’s application for a writ of habeas corpus makes a legal argument about why

he contends the 2015 Amendments and the Tiered Treatment Program do not apply

to him. He does not controvert any of the facts. The trial court’s order expressly

states that no hearing is required because there are no controverted and no previously

unresolved material facts. Then in a separate paragraph the trial court states there is

“legal authority overruling Lawson’s arguments in his application.” Here, Lawson

applied to the trial court for a writ that, if granted, would afford him relief from the

restrictions on his liberty that were imposed on him by virtue of the order of civil

commitment in Trial Cause Number 07-08-08159-CV. “[A]n appellate court has no

jurisdiction to hear the appeal when the trial court did not deny the application for

writ of habeas corpus on its merits.” Ex parte Miller, No. 09-08-00194-CV, 2009

Tex. App. LEXIS 2298, at *3 (Tex. App.—Beaumont Apr. 2, 2009, no pet.) (mem.

op.). After reviewing the record as a whole in this case, we conclude the order

denying Lawson’s application for a writ of habeas corpus was not appealable as a

final judgment and that the trial court determined the application lacked merit from

the face of Lawson’s application. See id.; see also Ex parte Villanueva, 252 S.W.3d

391, 394 (Tex. Crim. App. 2008) (“Only when a hearing is held on the merits of an

applicant’s claims and there is a ruling on the merits of the claims may a losing party

appeal.”).




                                           8
      In a supplemental filing, Lawson asked this Court to consider his brief as a

mandamus petition. For the same reasons we explained in Richards, Poest, and

Williams, we also deny Lawson’s request for mandamus relief. See id. 2024 Tex.

App. LEXIS 4499, at **11-18; 2024 Tex. App. LEXIS 4500, at **11-18; 2024 Tex.

App. LEXIS 4509, at **11-18; see also Tex. R. App. P. 52.8(a).

      For the reasons explained above, we dismiss the appeal for lack of jurisdiction,

and we deny the petition for mandamus relief.

      APPEAL DISMISSED; PETITION DENIED.

                                                           PER CURIAM

Submitted on July 22, 2024
Opinion Delivered August 8, 2024

Before Golemon, C.J., Johnson and Chambers, JJ.




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